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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA

 IDA HAWKINS, CHARLOTTE HAWKINS,   *
 and CHRISTOPHER HAWKINS, in their *
 individual and representative capacities
                                   *
                      Plaintiffs   *
                                   *
 VERSUS                            *                      CIVIL ACTION NO. 3:14-cv-00125
                                   *
 CLINICAL PARTNERS-LOUISIANA, PLLC *                       DISTRICT JUDGE: DONALD E. WALTER
               Defendant           *                       MAGISTRATE JUDGE: KAREN L. HAYES
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                                              ORDER

          Considering the foregoing Motion to Dismiss, it is the ORDER of this Court that the above

 captioned matter be and is hereby DISMISSED, without prejudice, each party to bear their own

 costs.

          Monroe, Louisiana, on the 23rd day of July, 2015.


                                               __________________________________________
                                                     UNITED STATES MAGISTRATE JUDGE
